       Case 1:11-cv-03200-RWL                 Document 332         Filed 12/08/21   Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                             12/8/2021
---------------------------------------------------------------X
PAUL BETANCES, et al.,                                         :
                                                               :          11-CV-3200 (RWL)
                                    Plaintiffs,                :
                                                               :
                  - against -                                  :          ORDER
                                                               :
BRIAN FISCHER, in his capacity as                              :
Commissioner of the New York State                             :
Department of Correctional Services (DOCS), :
and in his individual capacity, et al.,                        :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        On June 10, 2021, the Court requested supplemental briefing regarding whether

the class should be preserved for trial of general damages on loss of liberty. (Dkt. 321.)

After reviewing the parties’ submissions (see Dkts. 326, 329, 330), the Court requests

that the parties provide answers to the following questions by December 31, 2021. The

parties shall meet and confer and file a joint document. To the extent the parties do not

agree on the responses, the joint filing shall reflect each party’s respective answer.

    1. Complete the following chart:

          Category                                             Number of Class Members

          All current class members


          Class    members     referred   for
          resentencing, and sentencing judge
          imposed exact same terms of PRS
          (“Nunc Pro Tunc Members”)

          Excluding Nunc Pro Tunc Members,
          class members who were subject to


                                                        1
  Case 1:11-cv-03200-RWL        Document 332       Filed 12/08/21    Page 2 of 3




    unlawful PRS       and    subsequently
    reincarcerated

    Excluding Nunc Pro Tunc Members,
    class members who were subject to
    unlawful PRS and not reincarcerated



2. For all class members excluding Nunc Pro Tunc Members, what elements of

   unlawfully imposed PRS were common to most or all members? What PRS

   elements were not common to most or all members? Where common elements of

   PRS were imposed, to what extent (both in kind and number of class members)

   did those elements vary among class members? Elements of PRS include, for

   example, travel restrictions (and extent thereof); home confinement; curfew (and

   hours thereof); electronic monitoring; mandatory drug program participation (and

   whether inpatient or outpatient); obligation to report to supervisor (and frequency

   thereof and whether in person or by telephone); obligation to submit to drug testing

   (and frequency thereof); and obligation to submit to mental health care evaluation

   or counseling (and frequency thereof).

3. For class members who were reincarcerated for violation of unlawfully imposed

   PRS, how many were reincarcerated due to alleged commission of a new crime,

   and how many were reincarcerated for violations of unlawfully imposed PRS other

   than allegedly committing a new crime?

4. For class members who were reincarcerated for violation of unlawfully imposed

   PRS, to what extent were the facilities where they were reincarcerated the same

   or different with respect to degree of security (e.g., maximum, medium, minimum),

   and to what extent did the level of security affect those class members’ liberty.

                                         2
      Case 1:11-cv-03200-RWL        Document 332         Filed 12/08/21   Page 3 of 3




                                          SO ORDERED.



                                          _________________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE
Dated: December 8, 2021
       New York, New York

Copies transmitted this date to all counsel of record.




                                             3
